   2:22-cv-01279-BHH                          Date Filed 04/20/22                      Entry Number 1-1                       Page 1 of 7


                                                                                                    Service of Process
                                                                                                    Transmittal
                                                                                                    03/21/2022
                                                                                                    CT Log Number 541257943
TO:         KIM LUNDY- EMAIL
            Walmart Inc.
            GLOBAL GOVERNANCE/CENTRAL INTAKE, 2914 SE I STREET MS#0200
            BENTONVILLE, AR 72712-3148

RE:         Process Served in South Carolina

FOR:        Wal-Mart Stores, Inc. (Former Name) (Domestic State: DE)
            WALMART INC. (True Name)




ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION:                                  Re: GREEN SHARONDA // To: WALMART INC.
DOCUMENT(S) SERVED:                               Letter, Summons, Complaint, Attachment(s),
COURT/AGENCY:                                     Dorchester County Court of Common Pleas, SC
                                                  Case # 2022CP1800443
NATURE OF ACTION:                                 Personal Injury - Slip/Trip and Fall - 08/21/2019, 9880 Dorchester Road,
                                                  Summerville, SC
ON WHOM PROCESS WAS SERVED:                       CT Corporation System, Columbia, SC
DATE AND HOUR OF SERVICE:                         By Certified Mail on 03/21/2022 postmarked on 03/18/2022
JURISDICTION SERVED :                             South Carolina
APPEARANCE OR ANSWER DUE:                         Within 30 days after service, exclusive of the day of service
ATTORNEY(S) / SENDER(S):                          Ravi C. Sanyal
                                                  SANYAL LAW FIRM, LLC
                                                  778 St. Andrews Blvd.
                                                  Charleston, SC 29407
                                                  843-641-0347
ACTION ITEMS:                                     CT has retained the current log, Retain Date: 03/21/2022, Expected Purge Date:
                                                  03/31/2022

                                                  Image SOP

REGISTERED AGENT ADDRESS:                         C T Corporation System
                                                  2 Office Park Court
                                                  Suite 103
                                                  Columbia, SC 29223
                                                  877-564-7529
                                                  MajorAccountTeam2@wolterskluwer.com
The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion, and should not otherwise be
relied on, as to the nature of action, the amount of damages, the answer date, or any other information contained in the included documents. The recipient(s)
of this form is responsible for reviewing and interpreting the included documents and taking appropriate action, including consulting with its legal and other
advisors as necessary. CT disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be contained
therein.




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                 2:22-cv-01279-BHH     Date Filed 04/20/22
                                                       Entry Number 1-1   Page 2 of 7
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      2:22-cv-01279-BHH   Date Filed 04/20/22   Entry Number 1-1   Page 3 of 7



                                SANYAL
                                L AW FIRM, LLC




March 11,2022



VIA CERTIFIED MAIL, RETURN RECEIPT
C T Corporation System
2 Office Park Court, Suite 103
Columbia, S.C. 29223


Re:    Sharanda Green v. Wal-Mart Stores, INC
       C/A Number: 2022-CP-18-00443


Dear Sir/Madam:

Enclosed please find for service on you a filed, clocked-in copy of the Summons and
Complaint regarding the abo      erenced matter.

With kind regar



Ravi Sanyal

RCS/pdh

Enclosure




                              Ravi Sanyal, Attorney at Law
      778 St. Andrews Blvd, Charleston, SC 29407 T 843-641-0347 F 843-641-0362
                                 E raviasanvallaw.com
       2:22-cv-01279-BHH            Date Filed 04/20/22        Entry Number 1-1          Page 4 of 7




                                                                                                            ELECTRONICALLY FILED -2022 Mar 104:30 PM - DORCHESTER - COMMON PLEAS - CASE#2022CP1800443
        STATE OF SOUTH CAROLINA                          THE COURT OF COMMON PLEAS
                                                         CASE NUMBER 2020-CP-018-
        COUNTY OF DORCHESTER

        SHARONDA GREEN,
                                                                      SUMMONS
                             PLAINTIFF,                        (JURY TRIAL REQUESTED)
        V.

        WAL-MART STORES,INC,

                            DEFENDANT.


       TO THE DEFENDANTS ABOVE-NAMED:

              YOU ARE HEREBY SUMMONED and required to answer the Complaint in this action,
       a copy of which is hereby served on you,and to serve a copy of your Answer to the said Complaint
       upon the subscribers at 778 St. Andrews Boulevard,Charleston, SC 29407, within thirty(30)days
      after service hereof, exclusive of the day of such service, and if you fail to answer the Complaint
       within the time aforesaid,judgment by default will be rendered against you for the relief demanded
       in such Complaint.



                                     SANYAL LAW FIRM,LLC

                                        By:                   s/Ravi C. Sanyal
                                                       Ravi C. Sanyal, Esquire
                                                       Sanyal Law Firm, LLC
                                                       778 St. Andrews Blvd.
                                                       Charleston, SC 29407
                                                       Phone: 843-641-0347
                                                       Fax: 843-641-0362
                                                       Email: ravi@sanyallaw.com
                                                       Attorney for Plaintiff
Charleston, South Carolina
This 10th day of March, 2022
2:22-cv-01279-BHH           Date Filed 04/20/22         Entry Number 1-1          Page 5 of 7




                                                                                                       ELECTRONICALLY FILED -2022 Mar 104:30 PM - DORCHESTER - COMMON PLEAS - CASE#2022CP1800443
 STATE OF SOUTH CAROLINA                            THE COURT OF COMMON PLEAS
                                                    CASE NUMBER 2022-CP-18-
 COUNTY OF DORCHESTER

 SHARONDA GREEN,
                                                               COMPLAINT
                      PLAINTIFF,                         (JURY TRIAL REQUESTED)
 V.

 WAL-MART STORES,INC.,

                     DEFENDANT.




The Plaintiff, complaining of the above-named Defendant alleges and would respectfully show
unto this Honorable Court:

1.     The Plaintiff Sharonda Green is a citizen and resident of the County of Dorchester, State
       of South Carolina.

2.     That, upon information and belief, the Defendant Wal-Mart Stores, Inc. is a retail business
       organized under the laws of the South Carolina and conducting business under the laws of
       South Carolina and holding property located in Dorchester County.

3.    Upon information and belief, Defendant Wal-Mart Stores, Inc. fund, control, manage,
      assume responsibility for the store operations, and/or own the land located at 9880
      Dorchester Road,Summerville, South Carolina.

4.    The events hereinafter described occurred in Dorchester County,South Carolina.

5.    That this Honorable Court has subject matter and personal jurisdiction over the parties and
      venue is proper in this Court.

                                     CAUSE OF ACTION
                                      (NEGLIGENCE)

6.    That on August 21,2019, the Plaintiff was shopping at Wal-Mart Stores,Inc.'s Dorchester
      Road location, while carrying a glass jar in the store, the Plaintiff fell after slipping on a
      wet,slippery substance on the floor.

7.     The Plaintiff fell, breaking the glass jar in her hand,sustaining bloody lacerations on said
       hand while landing on her lower back.

8.     No signage nearby warned the Plaintiffofthe wet,slippery substance on the floor.

                                                1
2:22-cv-01279-BHH         Date Filed 04/20/22         Entry Number 1-1           Page 6 of 7




                                                                                                      ELECTRONICALLY FILED - 2022 Mar 10 4:30 PM - DORCHESTER - COMMON PLEAS - CASE#2022CP1800443
9.    That the Defendant,by and through its agents or employees, is guilty ofone or more ofthe
      following acts of negligence, gross negligence, carelessness, recklessness, willfulness and
      wantonness, which proximately caused the incident and Plaintiffs resulting injuries:

      (a)    In failing to keep the floor in a reasonably safe condition free from any hazards;

      (b)    In failing to correct the dangerous condition while Defendant was under actual and
             constructive notice of said condition;

      (c)    In creating and providing a hazardous and dangerous condition on the grounds in
             general and to the plaintiff in particular;

      (d)    In failing to give warnings to Plaintiff of the dangerous condition and potential
             dangers which existed at the time ofthe Plaintiff's fall;

      (e)    In failing to properly inspect and maintain the area where Plaintiff fell so as to
             discover and correct the dangerous condition;

      (f)    In failing to properly train, instruct and supervise its employees in the proper and
             safe inspection and maintenance ofthe area where Plaintiff fell;

      (g)    In creating an unsafe condition in the retail area whereupon business invitees
             regularly walk;

      (h)    In failing to follow its own policies and procedures for inspecting and maintaining
             the walkway;

             In failing to adequately assess the potential for an accident or injury and in failing
             to take action to avoid such outcome in the event such possibility was determined;
             and

             In generally failing to exercise the degree of care and caution that an ordinary,
             reasonably prudent person would have exercised under the same or similar
             circumstances then and there existing


10.   Which negligence, gross negligence, carelessness, recklessness, willfulness and
      wantonness ofthe Defendant directly and proximately caused the injuries and losses ofthe
      Plaintiff as is hereafter set forth.




                                               2
      2:22-cv-01279-BHH           Date Filed 04/20/22         Entry Number 1-1          Page 7 of 7




                                                                                                             ELECTRONICALLY FILED -2022 Mar 104:30 PM - DORCHESTER - COMMON PLEAS - CASE#2022CP1800443
                                                     DAMAGES

       1 1.   The Plaintiff hereby repeats and realleges the allegations contained in each and every
              paragraph above as ifrepeated verbatim herein.

       12.    That, as the direct and proximate result of the aforesaid negligent, grossly negligent,
              careless, reckless, willful and wanton acts and/or omissions ofthe Defendants,the Plaintiff:

              (a)    Fell landing on her lower back;

              (b)    Sustained several bloody lacerations to her hand as a result of the broken jar;

              (c)    Was subjected to painful removal ofglass from her injured hand;

              (d)    Sustained a sprain to her right anlde and left knee;

              (e)    Suffered extreme and painful injuries;

              (f)    Has incurred substantial medical and doctor bills due to her injuries; and

              (g)    Was subjected to extreme pain, emotional distress, suffering and discomfort.


       13.    All to her damages, both actual and punitive, in an amount to be determined by the trier of
              facts.

              WHEREFORE,the Plaintiff prays for judgment against the Defendant in an amount of
              actual and punitive damages, if so awarded by a jury, that will fully, fairly and justly
              compensate her for the injuries sustained and for such other and further relief as may be
              deemed appropriate by thejury.



                                        SANYAL LAW FIRM,LLC

                                        By:        s/ Ravi Sanyal
                                                       Ravi C. Sanyal, Esquire
                                                       Sanyal Law Firm, LLC
                                                       778 St. Andrews Blvd
                                                       Charleston, SC 29407
                                                       Phone: 843-641-0347
                                                       Fax: 843-641-0362
                                                       Email: ravi®sanyallaw.com
                                                       Attorneys for Plaintiff
Charleston, South Carolina
This 10th day of March, 2022

                                                       3
